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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


RICHARD J. WIEGEL,

       Plaintiff(s),

v.                                                       CASE NO. 8:16-cv-233-T-26TBM

CITIGROUP INC., d/b/a
CITIBANK, N.A.,

       Defendant(s).
                                               /

                                         ORDER

       The Court has been advised by [6] Notice of Settlement that the above-styled

action has been settled. Accordingly, pursuant to Local Rule 3.08(b), M.D.Fla., it is

       ORDERED AND ADJUDGED that this cause is hereby DISMISSED without

prejudice and subject to the right of the parties, within sixty (60) days of the date of this

order, to submit a stipulated form of final order or judgment should they so choose or for

any party to move to reopen the action, upon good cause shown. After that 60-day

period, however, dismissal shall be with prejudice. The clerk is directed to term any

pending motions/deadlines and to CLOSE the file.

       DONE AND ORDERED at Tampa, Florida, on March 21, 2016.


                                              s/Richard A. Lazzara
                                            RICHARD A. LAZZARA
                                            UNITED STATES DISTRICT JUDGE
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Counsel of Record
